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                              UNITED STATES DISTRICT COURT

                             WESTERN DISTRICT OF LOUISIANA

                             LAFAYETTE OPELOUSAS DIVISION


 UNITED STATES OF AMERICA                                       CRIMINAL NO. 06-60074-08

                VS.                                             JUDGE DOHERTY

 SABINA LUNA VALDEZ                                             MAGISTRATE JUDGE: HILL



                                ORDER APPOINTING INTERPRETER

         The Court, having been satisfied that the following individual has the qualifications necessary
 to serve as an interpreter in this matter, it is hereby ORDERED that:

                        Interpreter:   Gladys Brenke


 be appointed as interpreter to assist in the initial appearance and arraignment only.
 Compensation for these services shall be paid by the Government.


       This appointment is made pursuant to Rule 28 of the Federal Rules of Criminal
 Procedure.

      IT IS SO ORDERED.
    THUS DONE AND SIGNED at Lafayette, Louisiana, this 15th day of February, 2007.
